Case 3:25-cv-00001-DJH-CHL            Document 27        Filed 02/03/25    Page 1 of 2 PageID #: 12




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

  LAUREN VIUP                                                                          PLAINTIFF


  v.                                          CIVIL ACTION NO: 3:25-CV-00001-DJH-CHL (e-filed)


  MERRICK GARLAND, in his official
  capacity as ATTORNEY GENERAL
  OF THE UNITED STATES                                                               DEFENDANT


                         PROPOSED AGREED BRIEFING SCHEDULE

         Pursuant to the Court’s order (Doc. 26, PageID.11), the parties are obligated to file an

  agreed briefing schedule on today’s date to resolve the Defendant’s motion to dismiss (Doc. 13.).

  Counsel for the Plaintiff expects to complete filing for pro hac vice admission to appear and

  practice this case by the day after this filing. Counsel for both parties have communicated by

  e mail and telephone, and have agreed to the following briefing schedule for the Defendant’s

  motion to dismiss:

         Defendant’s motion, March 7, 2025

         Plaintiff’s response, March 28, 2025

         Defendant’s reply, April 11, 2025

         The Defendant therefore respectfully submits this filing pursuant to the Court’s order to

  file an agreed briefing schedule, and requests an order establishing that schedule and remanding

  any other prior deadlines in this matter.
Case 3:25-cv-00001-DJH-CHL            Document 27        Filed 02/03/25      Page 2 of 2 PageID #: 13




                                                        Respectfully submitted,

                                                        MICHAEL A. BENNETT
                                                        United States Attorney

                                                        /s/ Jason Snyder
                                                        Jason Snyder
                                                        Assistant United States Attorney
                                                        717 West Broadway
                                                        Louisville, KY 40202
                                                        (502) 582-6993
                                                        jason.snyder@usdoj.gov




                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 3, 2025, I electronically filed the foregoing with the
  clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to
  counsel for the plaintiff.



                                                        /s/ Jason Snyder
                                                        Jason Snyder
                                                        Assistant United States Attorney
                                                        717 West Broadway
                                                        Louisville, KY 40202
                                                        (502) 582-6993
                                                        jason.snyder@usdoj.gov




                                                    2
